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                        Exhibit 1

               Winning Bidders (Summary)
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Successful Bidders - Summary by Bidder


                                                                                                                 Total
Bidder                                         Assets                                                     Purchase Price
XPO, Inc.                                      26 Owned Real Properties and 2 Leased Real Properties          $870,000,000
Estes Express Lines                            24 Owned Real Properties                                        248,720,505
Saia Motor Freight Line, LLC                   17 Owned Real Properties                                        235,678,800
RAMAR Land Corporation                         8 Owned Real Properties                                         211,500,000
Terminal Properties, LLC                       7 Owned Real Properties                                          83,794,350
Knight-Swift Transportation Holdings Inc.      13 Owned Real Properties                                          51,296,500
Crown Enterprises, LLC                         8 Owned Real Properties                                          38,189,000
ArcBest Property Management, LLC               3 Owned Real Properties                                          30,200,000
A. Duie Pyle, Inc.                             4 Owned Real Properties                                          29,400,000
RLF IV Acquisitions, LLC                       3 Owned Real Properties                                          20,915,000
TForce Properties, Inc.                        2 Owned Real Properties                                          15,960,000
GPSS Holdings, LLC                             1 Owned Real Property                                             9,850,000
Southeast Consolidators, Inc.                  1 Owned Real Property                                             8,500,000
Skylark Logistics, Inc.                        2 Owned Real Properties                                           7,950,000
United Holding Group Inc.                      2 Owned Real Properties                                           4,683,000
Z Brothers Trucking, LLC                       1 Owned Real Property                                             4,207,000
JIOS Fund I Acquisitions, LLC                  1 Owned Real Property                                             3,050,000
Royal Group Holdings Inc.                      1 Owned Real Property                                             2,950,000
MDHE Enterprises, LLC                          1 Owned Real Property                                             2,800,000
Unis, LLC                                      2 Owned Real Properties                                           2,443,500
All Star Investments Inc.                      1 Owned Real Property                                               550,000
Total                                          128 Owned Real Properties and 2 Leased Real Properties    $1,882,637,655
